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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                       www.flsb.uscourts.gov

    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

        DEBTORS’ EXHIBIT REGISTER FOR THE DECEMBER 16, 2024 HEARINGS
             The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), by

and through undersigned counsel, submits the following exhibits for the hearings held on

December 16, 2024, at 9:30 a.m.:

Exhibit                                                             Admitted Refused              Not offered
                 Description
Number                                                                                            into evidence
1                Asset Purchase Agreement (Updated) [ECF X
                 No. 138]
2                Declaration Of Richelle Kalnit (A) In X
                 Support Of Debtors’ Expedited Motion Of
                 Debtors For (I) Entry Of An Order (A)
                 Approving Certain Bidding Procedures And
                 The Form And Manner Of Notice Thereof,
                 (B) Scheduling An Auction And A Hearing
                 On The Approval Of The Sale Of All Or
                 Substantially All Of The Debtors’
                 Remaining Assets, (C) Establishing Certain
                 Assumption And Assignment Procedures
                 And Approving Manner Of Notice Thereof,
                 And (D) Scheduling A Hearing To Approve
                 Assumption And Assignment Of The
                 Assumed Contracts; (II) Entry Of An Order
                 (A) Authorizing The Debtors’ Entry Into An
                 Asset Purchase Agreement; And (B)
                 Authorizing The Sale Of All Or
                 Substantially All Of The Debtors’ Assets
                 Free And Clear Of All Encumbrances; (III)

1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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           Entry Of An Order Approving The
           Assumption And Assignment Of The
           Assumed Contracts; And (IV) Related
           Relief, And (B) In Furtherance Of Order On
           Debtors’ Expedited Application For Entry
           Of An Order Under 11 U.S.C. §§ 327(A)
           And 328(A) Authorizing The Employment
           And Retention Of Hilco Ip Services, Llc
           D/B/A Hilco Streambank As Intangible
           Assets Disposition Advisor To The Debtors
           Effective As Of The Petition Date [ECF No.
           110]
3          Notice of Filing of Sale Order [ECF No. 128]X
4          Notice of Filing of Successful Bidder [ECF X
           No. 106]


    Dated December 17, 2024.

                                                 DGIM Law, PLLC
                                                 Counsel for the Debtors
                                                 2875 NE 191st Street, Suite 705
                                                 Aventura, FL 33180
                                                 Phone: (305) 763-8708

                                                 /s/ Isaac Marcushamer
                                                 Isaac Marcushamer, Esq.
                                                 Florida Bar No. 0060373
                                                 isaac@dgimlaw.com
                                                 Monique D. Hayes, Esq.
                                                 Florida Bar No. 0841573
                                                 monique@dgimlaw.com




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                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF Notification

to all interested parties via CM/ECF to all parties on the attached service list on this 17 th day of

December, 2024.

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      isaac@dgimlaw.com




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